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Eyhibit B

NOTICE TO QUIT (END) POSSESSION

TO: BARBARA SIMONE and HENRY SIMONE

I/We hereby terminate your written "LEASE AGREEMENT", rental
agreement, agreement, “Lease”, written or oral lease and/or
tenancy, and give you NOTICE that you are to, and/or must, move out,
vacate or quit (end) possession er eccupancy of the land, lot,
(single family) house, building(s), grounds, improvement(s), real
property, rental property, property, leased premises, private
residence, dwelling and/or Premises now occupied by you at 22
PISCITELLO DR A/K/A 22 PISCITELLO DRIVE, in the Town or City of
Branford, County of New Haven and State of Connecticut, together
with any and/or all improvement(s) thereon and/or appurtenance(s)
thereto, ineluding, but not necessarily limited to, porch(es),
wood/wooden/composite/other type of deck(s), pool(s), spa(s) /hot

tub(s), garage(s), garage bay(s), carport(s), driveway(s),
walkway{s), shed(s), patio(s), (assigned, non-assigned and/or
designated) basement /attic/storage/utility/parking/other

cubicle(s), area(s), spot(s) and/or space(s), if any, (hereinafter
individually and/or collectively referred to as “Premises”), on
er before November 22, 2019, for the following reason(s) :

(1) TERMINATION OF “LEASE AGREEMENT”, RENTAL AGREEMENT,
AGREEMENT, “LEASE”, WRITTEN OR ORAL LEASE AND/OR TENANCY
DUE TO NONPAYMENT OF “RENT” OR MONTHLY RENT.

(2) TERMINATION OF “LEASE AGREEMENT”, RENTAL AGREEMENT ,
AGREEMENT, “LEASE”, WRITTEN OR ORAL LEASE AND/OR TENANCY
DUE TO NON-PAYMENT OF “RENT” OR RENTAL PAYMENT (S) .

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(3) TERMINATION OF “LEASE AGREEMENT’, RENTAL AGREEMENT,
AGREEMENT, “LEASE”, WRITTEN OR ORAL LEASE AND/OR
TENANCY DUE TO NON“PAYMENT OR NONPAYMENT OF “RENT,
MONTHLY RENT OR RENTAL PAYMENT (S) .

(4) TERMINATION OF “LEASE AGREEMENT’, RENTAL AGREEMENT,
AGREEMENT, “LEASE”, WRITTEN OR ORAL LEASE AND/OR
TENANCY DUE TO NON-PAYMENT/NONPAYMENT OF “RENT”,
IN THE AMOUNT OR SUM OF $1,968.00 PER MONTH.

(5) TERMINATION OF “LEASE AGREEMENT”, RENTAL AGREEMENT,
AGREEMENT, “LEASE”, WRITTEN OR ORAL LEASE AND/OR
TENANCY BY REASON OF ANY EXPRESSED STIPULATION THEREIN.

(6) OCCUPANCY OF THE PREMISES BY ONE WHO ORIGINALLY HAD THE RIGHT
OR PRIVILEGE TO OCCUPY SUCK PREMISES, BUT SUCH RIGHT OR
PRIVILEGE HAS TERMINATED.

Any payments tendered after the date specified tc quit (end)
possession or occupancy, or the date of the completion of the
pretermination process if that is later, will be accepted for USE
AND OCCUPANCY ONLY AND NOT FOR RENT, with full reservation of all rights
to continue with the Summary Process (EVICTION) action/case.

If you deo not move out, vacate and/or otherwise quit (end)
possession or occupancy of the land, lot, (single family} house,
building(s), grounds, improvement({s), real property, rental property,
property, leased premises, private residence, dwelling and/or Premises
by the date stated/indicated above, or the date of the completion
of the pretermination process if that is later, an eviction (i.e.
SUMMARY PROCESS ACTION/CASE) shall be started, instituted and/or
otherwise commenced against you.

In the event that judicial proceedings for your eviction (i.e.
SUMMARY PROCESS ACTION/CASE) is/are started, instituted and/or
commenced against you, you will be entitled to present any defense that
you may have, if any, under the laws of the State of Connecticut.

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Dated at West Hartford, Connecticut, this i2th day of November, 2019.

WRI PM as Agent for US BANK Trust NA,
LSF9 Master Participation Trust,
U.S. Bank Trust, N.A., as Trustee for
LSFS Master Participation Trust,
U.S. Bank Trust, N.A., as Trustee for
LSF8 Master Participation Trust a/k/a

US BANK TRUST NA As Trustee for LSF8 Master Participation
Trust and/or WRI Property Management, LLC a/k/a WRI a/k/a
WRIPM a/k/a WRI Property Management. a/k/a WRI EM

Owner (3) /Landlord(s) /Lassor (s) /Agent(s) / (Property) Manager (s)

By

MARSHALL D. GLAZER, Its
P.O. Box 330407

Waast Hartford, CT 06133-0407
Tel. No. (860) 561-1557

Juris Ne. 102588

eir Attorney

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Then I made due legal service of the foregoing NOTICE by
leaving a true and attested copy with / at the usual place of abode

of each of the within named lessee(s), tenant(s) and/or
occupant (s)

at in the Town or City of
Branford, Connecticut on , 2019,

FEE: §$ ° Attest:

